
708 S.E.2d 309 (2011)
STATE of North Carolina
v.
Artis Tamar PERKINS.
No. 123P11.
Supreme Court of North Carolina.
April 7, 2011.
Steven F. Bryant, Assistant Attorney General, for State of North Carolina.
Artis Perkins, for Perkins, Artis Tamar.
C. Colon Willoughby, Jr., District Attorney, for State.

ORDER
Upon consideration of the petition filed by Defendant on the 30th of March 2011 in this matter for a writ of certiorari to review the order of the Superior Court, Wake County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 7th of April 2011."
HUDSON, J., recused.
